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UNITED STATES DISTRICT COURT
                                                                          DOC #: _________________
SOUTHERN DISTRICT OF NEW YORK
                                                                          DATE FILED: 10/20/2021
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HILARY A. BEST,                                                   :
                                                                  :
                                                  Plaintiff,      :          1:21-cv-779-GHW
                                                                  :
                              -v -                                :              ORDER
                                                                  :
JAMES MERCHANT, et al.,                                           :
                                                                  :
                                               Defendants. :
                                                                  :
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GREGORY H. WOODS, United States District Judge:

         For the reasons stated on the record during the conference held on October 20, 2021, the

Court denies Defendants’ request for leave to file a motion to dismiss at this time. The deadline for

Defendants to file a new letter requesting leave to file a motion to dismiss is December 3, 2021. The

deadline for defendant to answer or otherwise respond to the complaint is extended to December 3,

2021. Discovery in this case is stayed until December 3, 2021. Defendants are directed to make any

request to extend the stay of discovery in Defendants’ letter requesting leave to file a motion to

dismiss.

         SO ORDERED.

Dated: October 20, 2021
       New York, New York                                                ______
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                                                                                       RYY H. WOODS
                                                                        United States District Judge
